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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

    UNITED STATES OF AMERICA                     )
                                                 )
                        v.                       )      DOCKET NO. 06-10427-PBS
                                                 )
    JEFFREY SHIELDS                              )
                                                 )
    UNITED STATES OF AMERICA                     )
                                                 )
                        v.                       )      DOCKET NO. 06-10439-PBS
                                                 )
    JOEL WETMORE                                 )
                                                 )


    UNITED STATES OF AMERICA                     )
                                                 )
                        v.                       )      DOCKET NO. 06-10449-PBS
                                                 )
    CHARLES PEAVY                                )
                                                 )

            ASSENTED-TO MOTION TO CONTINUE STATUS CONFERENCE

       Now come defendants Jeffrey Shields, Joel Wetmore, and Charles Peavy through counsel

and request that this Court to continue the status conference presently scheduled for Thursday,

October 11 at 2:30 to Thursday, October 18 at 9:00 a.m. Counsel so request because they have

not received the discovery from the government, but expect to receive it tomorrow, October 11.

Counsel request the additional time so that they may review discovery, confer with the clients,

and confer with the government before seeking to resolve discovery issues before the Court.

       The Assistant United States Attorneys assigned to these cases, Mark Quinlivan and

Rayford Farquhar, have no objection to this request.
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                                                         JEFFREY SHIELDS
                                                         JOEL WETMORE
                                                         CHARLES PEAVY
                                                         By their attorneys,

                                                         /s/ Page Kelley
                                                         Page Kelley
                                                           B.B.O. #548237
                                                         William Fick
                                                           B.B.O. #650562
                                                         Federal Defender Office
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                                                         Boston, MA 02110
                                                         Tel: 617-223-8061



                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on October 10,
2007.

                                                      /s/ Page Kelley
                                                      Page Kelley
